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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                             )
MARK MEADOWS,                                )
                                             )
               Plaintiff,                    )
                                             )
       v.                                    )       Case No. 1:21CV3217 (CJN)
                                             )
NANCY PELOSI, et al.,                        )
                                             )
               Defendants.                   )
                                             )

                             DECLARATION OF JOHN MORAN

       I, John Moran, pursuant to 28 U.S.C. § 1746, declare as follows:

       1.      I am over the age of 18 and competent to testify in this matter.

       2.      I have personal knowledge about the matters stated in this Declaration.

       3.      I am an attorney with the law firm of McGuireWoods LLP, and we represent

Plaintiff Mark Meadows in the above-captioned matter.

       4.      On November 1, 2022, I was notified by representatives for Verizon Wireless that

they had been contacted by investigative counsel from Defendant the Select Committee to

Investigate the January 6th Attack on the U.S. Capitol following this Court’s ruling.

       5.      Verizon Wireless further informed me that the Select Committee was seeking their

immediate compliance with the subpoena issued on November 22, 2021 for Mr. Meadows’s

personal call and text records (“Verizon Subpoena”).

       6.      Verizon Wireless further conveyed their understanding of the Select Committee’s

position that the Select Committee would insist on prompt compliance unless and until Mr.

Meadows sought and obtained a stay or injunction pending further proceedings.
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       7.     On November 2, 2022, I participated in a conference call with counsel for the

Congressional Defendants and investigative counsel for the Select Committee.

       8.     Counsel informed us that they intend to pursue potential avenues for securing Mr.

Meadows’s appearance for a deposition, which was the subject of the Select Committee’s

September 23, 2021 subpoena (“Meadows Subpoena”).

       9.     Counsel further confirmed that they intend to pursue compliance with the Verizon

Subpoena.

       I declare under penalty of perjury that the foregoing is true and correct.


Executed on this, the 2nd day of November, 2022.


                                                             /s/ John Moran
                                                             John Moran




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